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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES                       )
                                    )
                                    )
      v.                            )                             Case No. 1:21-cr-525-ABJ
                                    )
SAMUEL LAZAR,                       )
                                    )
            Defendant.              )
____________________________________)

                         DEFENDANT’S RESPONSE TO MINUTE ORDER
                           REGARDING VIDEO EXHIBIT RELEASE

         Defendant Samuel Lazar, by and through counsel, in accordance with the Court’s Minute

Order dated August 20, 2021, submits the following response regarding petitioners’ request to

access video exhibits submitted to the Court.

         The defense does not object to petitioners’ request to access Video Exhibit # 2:

“YouTube admission video,” as it is already in the public domain having been obtained from

YouTube.

         However, with respect to Exhibit # 1, the defense asserts that the Hubbard1 factors weigh

in favor of non-disclosure. Counsel submits: 1) typically the video contained in Exhibit #1,

obtained from body-worn camera (BWC) is disclosed by the government pursuant to a protective

order that prevents dissemination to the press; 2) counsel is unaware of prior public disclosure of

Exhibit #1; 3) the defense objects to the disclosure of Exhibit #1, and expands that objection to


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  The Hubbard test balances the following factors: “(1) the need for public access to the documents at issue; (2) the
extent of previous public access to the documents; (3) the fact that someone has objected to disclosure, and the
identity of that person; (4) the strength of any property and privacy interests asserted; (5) the possibility of prejudice
to those opposing disclosure; and (6) the purposes for which the documents were introduced during the judicial
proceedings.” Leopold v. v. United States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting MetLife, Inc. v. Fin.
Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017)).

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request that Exhibit #1 be sealed; 4) if the BWC footage were made public, the potential for

prejudice to Mr. Lazar is great, particularly with respect to potential jurors if this case proceeds

to trial.

            Therefore, Samuel Lazar respectfully objects to the public disclosure of Video Exhibit #



                                                        Respectfully submitted,

                                                        ____/s/_______________________
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                                                        Counsel for Samuel Lazar




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of August 2021, a true copy of the foregoing
Defendant’s Notice of Filing was served via the CM/ECF system upon Assistant United States
Attorney Douglas G. Collyer, United States Attorney’s Office, 14 Durkee Street, Suite 340,
Plattsburgh, New York 12901.


                                                        ____/s/____________________
                                                        David Benowitz




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